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 1   SIRI & GLIMSTAD LLP
     Aaron Siri (Pro Hac Vice to be Filed)
 2
     Email: aaron@sirillp.com
 3   Elizabeth A. Brehm (Pro Hac Vice to be Filed)
     Email: ebrehm@sirillp.com
 4
     200 Park Avenue
 5   Seventeenth Floor
     New York, NY 10166
 6
     Telephone: 212-532-1091
 7   Facsimile: 646-417-5967
 8
     Caroline Tucker (SBN 261377)
 9   Email: ctucker@sirillp.com
10   700 S. Flower Street, Suite 1000
     Los Angeles, CA 90017
11   Telephone: 213-376-3739
12   Facsimile: 646-417-5967

13   Attorneys for Plaintiff
14   ROCKMOND DUNBAR

15                         UNITED STATES DISTRICT COURT
16                       CENTRAL DISTRICT OF CALIFORNIA
17                                   WESTERN DIVISION
18
     ROCKMOND DUNBAR,                               Case No. 2:22-cv-1075
19
20                             Plaintiff,           COMPLAINT
21   v.

22   THE WALT DISNEY COMPANY;
23   TWENTIETH CENTURY FOX
     TELEVISION, A UNIT OF
24   TWENTIETH CENTURY FOX FILM
25   CORPORATION DOING BUSINESS
     AS 20TH TELEVISION,
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27                             Defendants.
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 1         Rockmond Dunbar by and through counsel, and for his Complaint against
 2   Defendants, hereby states as follows:
 3                                       INTRODUCTION
 4         1.        Over the past 30 years, Rockmond Dunbar (“Mr. Dunbar”) has created a
 5   well-respected career as a black working actor, writer, and producer. During that career,
 6   he has frequently been one of only a handful of black leading men appearing on network
 7   television. He is well respected by his peers and employers and had built a sterling
 8   reputation in the entertainment industry by appearing in numerous successful television
 9   shows such as “Soul Food,” “Prison Break,” “The Mentalist,” and “Sons of Anarchy.”
10         2.        Since 2013, he and his family have been adherents to the teachings of the
11   Church of Universal Wisdom (“Universal Wisdom”), which preaches that God and
12   nature are one and that healing comes from God downward to His followers, which in
13   turn emanates from within His followers. Followers of Universal Wisdom, including Mr.
14   Dunbar, believe they are obligated to avoid medical intervention that introduces disease
15   into the body. Mr. Dunbar has frequently adhered to this obligation by forgoing various
16   medical interventions. Mr. Dunbar is now compelled to bring this action because
17   Defendants severely damaged his career by discriminating against him based on his race
18   and religion.
19         3.        Mr. Dunbar has been the only black male lead actor on the hit television
20   show “9-1-1” since it debuted. Showing dedication to their work and employers, he and
21   his castmates continued working throughout the entire pandemic, taking reasonable
22   precautions to protect against COVID-19 infection. In fact, all of the current season of
23   the show was shot in either 2021 or 2022. In September 2021, Defendants introduced a
24   new policy mandating that all employees be vaccinated against COVID-19, but allowed
25   actors like Mr. Dunbar to request an accommodation based on either medical or religious
26   reasons. Mr. Dunbar submitted paperwork seeking both a religious and a medical
27   accommodation which included personal statements regarding his faith and a clergy letter
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 1   attesting to his membership in Universal Wisdom. The producer of “9-1-1” assured Mr.
 2   Dunbar that he wanted him to remain with the show and that they could adjust his
 3   schedule to accommodate Mr. Dunbar’s need to avoid obtaining the COVID-19 vaccine.
 4   In fact, Mr. Dunbar understands that other members of the “9-1-1” cast and crew who
 5   also could not be vaccinated have been accommodated, though none sought a religious
 6   exemption and none were black.
 7         4.     Nevertheless, the administrators who work for Defendants never took Mr.
 8   Dunbar’s requests for accommodations seriously. They openly mocked his beliefs and
 9   proceeded to deny Mr. Dunbar his accommodations based on nothing more than rank
10   hearsay and assumptions. Defendants refused to believe Mr. Dunbar’s doctor’s
11   recommendation, and they refused to engage with Mr. Dunbar in any meaningful
12   interactive communication regarding his religious beliefs, which is particularly
13   unfortunate because, if they had, he could have explained that all of their assumptions
14   were incorrect. Because they refused to accommodate him, in October 2021, Defendants
15   barred him from the “9-1-1” set. However, the “9-1-1” producers ensured that his
16   character’s story showed him leaving temporarily, and made clear that he could return to
17   the show at any time.
18         5.     Thereafter, Mr. Dunbar retained the undersigned counsel to assert his right
19   to proper accommodations.       In retaliation, Defendants summarily terminated Mr.
20   Dunbar’s employment agreement, and refused to pay him the hundreds of thousands of
21   dollars that are still owed to him. Then, wanting to make an example out of Mr. Dunbar,
22   he believes that Defendants wrongfully leaked negative information to the media about
23   his departure from “9-1-1” including that he sought both religious and medical
24   exemptions that were denied. Defendants deliberately made it sound like Mr. Dunbar
25   was a recalcitrant anti-vaxxer, rather than present the truth – that like millions of other
26   Americans, he is a sincere adherent to a non-mainstream religious belief that prevents
27   him from being vaccinated.
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 1           6.    After articles appeared in the media touting Defendants’ story about Mr.
 2   Dunbar, he essentially became persona non grata in his industry. Despite his decades of
 3   successful work, and continuing interest in him to play various roles, agents and casting
 4   directors have made clear that he is on a no-hire list due to his beliefs. In addition, before
 5   Defendants’ efforts to retaliate against him, Mr. Dunbar and his wife had obtained
 6   financing for a movie project that they had written and were set to produce. Yet,
 7   numerous A and B list actors who were interested in working with him, refused to do so
 8   after the articles came out for fear of being blacklisted by merely being associated with
 9   Mr. Dunbar.
10           7.    Defendants’ actions violated Title VII of the Civil Rights Act of 1964 (42
11   U.S.C. § 2000e et seq. ) (“Title VII”), the California Fair Employment Housing Act (Cal.
12   Gov. Code § 12900, et seq. ) (“FEHA”), and common law principles of contract law.
13   Mr. Dunbar now brings this action to clear his name and recover for the damage that
14   Defendants’ discriminatory actions caused to him and his family.
15                                JURISDICTION AND VENUE
16           8.    The Court has subject matter jurisdiction pursuant to 42 U.S.C. § 2000e-2,
17   42 U.S.C. § 1985(3) and 28 U.S.C. § 1331 because this action arises under federal law.
18           9.    This Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367, for
19   state law claims under California Government Code § 12940, because such claims stem
20   from part of the same case or controversy arising from a common nucleus of operative
21   fact.
22           10.   Venue is proper in this district as Defendants operate corporate headquarters
23   in this district, and one or more of Defendants’ acts and those events complained of
24   occurred herein, pursuant to 28 U.S.C. § 1391.
25           11.   The Plaintiff and Defendants consented to the exclusive jurisdiction and
26   venue in this Court in the Plaintiff’s employment contract pursuant to 28 U.S.C. §
27   1404(a).
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 1         12.    This Court is authorized to grant Mr. Dunbar declaratory relief pursuant to
 2   28 U.S.C. § 2202.
 3         13.    This Court is authorized to grant Mr. Dunbar prayer for relief regarding
 4   costs, including reasonable attorney’s fees, pursuant to 42 U.S.C. § 1988; 42 U.S.C. §
 5   2000e-5(k); and California Government Code § 12965(b).
 6                                             PARTIES
 7         14.    Mr. Dunbar is a resident of the State of Georgia.
 8         15.    Defendant The Walt Disney Company (“Disney”) is a corporation qualified
 9   to do business in the state of California, with corporate offices at 500 S. Buena Vista
10   Street, Burbank, CA 91521.
11         16.    Defendant Twentieth Century Fox Television, a unit of Twentieth Century
12   Fox Film Corporation doing business as 20th Television (“Fox”) is a corporation
13   qualified to do business in the state of California, with corporate offices at 10201 W. Pico
14   Boulevard, Los Angeles, CA 90035. In 2019 Disney acquired Fox, making it a wholly
15   owned subsidiary of Disney. On information and belief, Fox and Disney share many
16   resources, including legal services and some resources involved in creating COVID-19
17   policy and/or providing exemptions to that policy.
18         17.    Each of Defendants employs more than 15 employees.
19         18.    Defendants are employers within the meaning of California and Federal
20   statutory provisions cited herein.
21         19.    All of the above paragraphs are incorporated into the following factual
22   averments and claims as if fully set forth therein. Each of the following facts are
23   incorporated into all of the others as if fully set forth therein.
24                                  FACTUAL ALLEGATIONS
25                                 Mr. Dunbar’s Religious Beliefs
26         20.    Mr. Dunbar has been an adherent to the teachings of the Church of Universal
27   Wisdom (“Universal Wisdom”) since 2013 following the birth of his first child. In that
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 1   time, Mr. Dunbar and his family have consistently followed the tenets of Universal
 2   Wisdom in their daily lives and in raising their children.
 3         21.      Universal Wisdom was founded in 1974. It includes the belief that the
 4   supreme attainment is the health and purity of body, mind, and spirit expressed through
 5   the concept of universal wisdom, and that harmony with all living things is the expression
 6   of God. It is based on the concept that God and nature are one and that healing comes
 7   from above-downward, inward and out. This phrase explains that God provides healing
 8   from above, downward to His followers and the healing through God’s grace begins from
 9   inside.
10         22.      Universal Wisdom deems it a sacrilege to depart from the precepts of the
11   religion by the following (among other things):
12               a. The ingestion of medication or other chemical substances that defy natural
13                  law.
14               b. The injection into the body of medication or other matter of substances that
15                  defy natural law.
16               c. The application of medication, chemicals, or other foreign matter or
17                  substances unharmonious to the laws of nature.
18               d. The inhalation of medication, chemicals, or other foreign substances in
19                  disharmony with the laws of nature.
20         23.      With this in mind, the tenets of Universal Wisdom include, but are not
21   limited to, the moral obligation to avoid medical intervention that intentionally introduces
22   disease into the body, and to refuse to pierce the skin for medical treatment.
23         24.      Mr. Dunbar and his wife have rejected medical intervention in the past due
24   to the tenants of their religion, and they continue to do so. Even though both Mr. Dunbar
25   and his wife work in the entertainment industry, primarily in Los Angeles, their family
26   relocated from California to Georgia in order to practice the tenets of their faith more
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 1   freely, and have found Georgia to be a more positive environment for their children’s
 2   homeschool education in alignment with their faith.
 3                        Mr. Dunbar’s Employment with Defendants
 4           25.   Mr. Dunbar has been employed as an actor, producer, director, and writer in
 5   various capacities for nearly thirty years. His page on the website IMDb includes 61
 6   credits as an actor and 20 credits as either a producer, director, or writer. 1 Those credits
 7   included regular roles on such hit televisions shows as “Prison Break,” “The Game,”
 8   “The Mentalist,” “Sons of Anarchy,” and “Soul Food.” The majority of his roles as an
 9   actor were with Defendants.
10           26.   Mr. Dunbar built his long career through hard work. He has been recognized
11   as an outstanding actor, winning a Black Real Award in 2002, and he was nominated for
12   that award again in 2013 and 2014. He was also nominated twice for an NAACP Image
13   Award.
14           27.   Most recently, Mr. Dunbar has been a series regular on the Fox television
15   show “9-1-1.” He appeared on the show from the first episode of season 1 through
16   episode 9 of season 5. Specifically, Mr. Dunbar was employed on “9-1-1” from
17   September 29, 2017 through November 10, 2021. During this time, Mr. Dunbar was the
18   only black male lead on the series, and one of only a handful of black male leads on
19   primetime network television.
20           28.   Throughout his time working for Defendants, they had no complaints
21   regarding his job performance.
22           29.   Mr. Dunbar received significant praise for his work on “9-1-1”.            For
23   example, Entertainment publication TV Fanatic published a story on October 5, 2021
24   regarding Mr. Dunbar’s performance in Season 5, Episode 3 of the show, stating: “And
25   major shout-out to Rockmond Dunbar, who was an absolute rockstar here.” Similarly,
26   TV Fanatic said of Mr. Dunbar’s performance in his penultimate episode in Season 5,
27   1
         https://www.imdb.com/name/nm0241870/.
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 1   Episode 8: “Whenever Rockmond Dunbar does get a chance to shine, he always knocks
 2   it out of the park.”
 3         30.    This praise also came from his superiors on the show. For instance, “9-1-1”
 4   Showrunner Tim Minear spoke highly of Mr. Dunbar during an interview published
 5   online in entertainment publication “Decider” on January 3, 2022. When asked about Mr.
 6   Dunbar’s refusal to be vaccinated: “I’ve known Rock for many years – we worked
 7   together on a show called Terriers, and then I cast him on this show because I knew how
 8   genius he was.”
 9                                 The COVID-19 Pandemic
10         31.    By Spring of 2020, the coronavirus, SARS-CoV-2, had spread to many
11   nations, including the United States.
12         32.    In that timeframe, Defendants began implementing certain mitigation
13   procedures for its workforce, such as wearing masks, maintaining minimum distances
14   from other workers, and receiving body temperature checks.
15         33.    Since then, three separate COVID-19 vaccines have been developed and
16   authorized by the United States government for use.
17         34.    On August 23, 2021, the FDA issued full approval of one of those vaccines,
18   the Pfizer-BioNTech vaccine called Comirnaty, for persons 16 years of age and older.
19                               Defendants’ Vaccine Mandate
20         35.    For purposes of addressing issues concerning the ongoing COVID-19
21   pandemic, employees in the film and television industry are divided into Zones A, B, C
22   and so forth. Zone A includes actors, producers, and writers.
23         36.    From about December 2020 through August 2021, the studio hosted several
24   zoom meetings with representatives from Disney Legal Department, Employee
25   Relations, and COVID-19 compliance coordinators to discuss the incentives offered for
26   voluntary COVID-19 vaccination and the possibility of mandatory COVID-19
27   vaccination. During one meeting, Mr. Dunbar asked what would happen if an employee
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 1   did not receive the COVID-19 vaccination in exchange for incentives offered, to which
 2   a representative from Disney legal, Tanya Menton, replied, “there will be some form of
 3   punishment,” or words to that effect.
 4         37.    Then, in September 2021, Fox formally announced a policy that required
 5   “Zone A” employees to be fully vaccinated by October 18, 2021, defined as two weeks
 6   following the second dose of a two-shot regimen of Pfizer or Moderna, or two weeks
 7   after a single-dose regimen of the Johnson & Johnson vaccine. Defendants offered the
 8   ability for employees to seek a religious and/or medical accommodation and directed
 9   employees to contact the Employee Relations department to make such a request.
10         38.    Prior to Defendants’ vaccine requirement for Zone A, all cast and crew were
11   required to be tested up to three times a week, wear masks, and social distance on set.
12         39.    Mr. Dunbar worked through the entire pandemic while filming on set for the
13   “9-1-1” series. He consistently complied with all of Defendants’ testing, masking, and
14   social distancing requirements on set. Mr. Dunbar has never tested positive nor had
15   COVID while working, nor while at work.
16         40.    Nevertheless, other actors on the “9-1-1” set became symptomatic and tested
17   positive for SARS-CoV-2 multiple times, which required Mr. Dunbar and other exposed
18   actors to quarantine.
19   Mr. Dunbar Requests Exemption From Defendants’ COVID-19 Vaccine Mandate
20         41.    Between 2009 and 2015, Mr. Dunbar appeared on the television series “The
21   Game” during its initial run. When the producers recently decided to re-start that show,
22   Defendant Disney granted Mr. Dunbar permission on September 17, 2021 to shoot new
23   episodes for “The Game” in Atlanta, Georgia from September 27, 2021 to October 1,
24   2021. As a result, Mr. Dunbar was away from the “9-1-1” set during that time and had
25   limited communication ability.
26         42.    On September 29, 2021, while Mr. Dunbar was on “The Game” set in
27   Atlanta, an email was sent to Disney employees directing anyone seeking a medical or
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 1   religious accommodation for the COVID-19 vaccine mandate to contact Employee
 2   Relations.
 3         43.    Based on his belief in Universal Wisdom, Mr. Dunbar has sincerely held
 4   religious beliefs and convictions that directly conflict with his receiving the COVID-19
 5   vaccines.
 6         44.    In addition, Mr. Dunbar has a disability, because of which his doctors have
 7   advised that he not receive a vaccination.
 8         45.    Between about September 29 and 30, 2021, Mr. Dunbar’s agents, Sheree
 9   Cohen and Ray Moheet, contacted Stephanie Herman at Fox via phone to notify her that
10   Mr. Dunbar would be requesting both a religious exemption and a medical exemption to
11   the COVID-19 vaccine mandate, and that a full explanation of Mr. Dunbar’s faith in
12   support of his request for a religious exemption would be submitted on October 3 or 4,
13   2021, as soon as Mr. Dunbar was done shooting “The Game.”
14         46.    On September 30, 2021, Erin Nguyen, from Disney Employee Relations,
15   acknowledged via email to Sheree Cohen that Mr. Dunbar would be requesting an
16   accommodation.
17         47.    On October 4, 2021, Mr. Dunbar submitted the following to Defendants: (1)
18   a Statement of Religious Beliefs, including a Purpose Statement, Moral Obligation and
19   Sacrilege; (2) a personal letter explaining Mr. Dunbar’s religious beliefs; and (3) a clergy
20   letter from a Universal Wisdom minister.
21         48.    Around that same time, Mr. Dunbar’s representatives submitted a letter from
22   his physician stating that Mr. Dunbar’s medical history is incompatible with all forms of
23   the COVID-19 vaccine.
24                                Denial of Exemption Requests
25         49.    On October 4, 2021, Ms. Nguyen notified Mr. Dunbar’s agents, Sheree
26   Cohen and Ray Moheet, via email that Mr. Dunbar’s physician letter was not sufficient
27   to support a medical exemption.        Ms. Nguyen added: “Am I understanding that
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 1   Rockmond is now requesting an accommodation based on his religious beliefs as well?”
 2         50.    On October 4, 2021, Mr. Dunbar’s agent Ray Moheet stated via email to Ms.
 3   Nguyen that, “we don’t agree with your assessment regarding Rockmond’s medical and
 4   are hereby requesting an appeal.” Mr. Moheet also forwarded a letter from Mr. Dunbar
 5   in response to Ms. Nguyen’s accusation that Mr. Dunbar was “pivoting” from a medical
 6   to a religious exemption, stating: “My unwavering faith has and always will be the
 7   cornerstone and foundation for which I seek any and all accommodation regarding my
 8   employer’s vaccination mandate.” Mr. Dunbar also requested that further inquiries
 9   regarding his faith be conducted in writing, or if verbal communication is preferred that
10   he be accompanied by a representative of the U.S. Equal Employment Opportunity
11   Commission (“EEOC”) or an attorney.
12         51.    The very next day, on October 5, 2021, Ms. Nguyen told Mr. Dunbar for the
13   first time that his last day working on the “9-1-1” set would be October 18, 2021 because,
14   according to her, Employee Relations supposedly did not have enough time to process
15   the request for an accommodation in the nearly two weeks between this email and the
16   October 18th deadline.
17         52.    In response to Ms. Nguyen’s October 5th email, another one of Mr. Dunbar’s
18   agents, Norm Aladjem, sent an email to Ms. Nguyen regarding Mr. Dunbar’s religious
19   accommodation request, stating in part: “A sincerely held religious belief is exactly that,
20   whether anyone else shares that belief or not. I understand that it’s expedient for you to
21   pretend [Mr. Dunbar’s] religious beliefs are not sincere to make your job easier, and to
22   make life easier for vaccinated people on set, but I find your approach completely
23   retaliatory. [Mr. Dunbar] has and is willing to get on the phone with you to discuss
24   his beliefs, but is aware based on your approach that what you actually intend is to
25   pretend to listen to him and then pronounce his beliefs not to be sincere. I suspect you
26   too would be hesitant to talk to someone about your beliefs in that context. ” (Emphasis
27   added).
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 1         53.    After not hearing from Ms. Nguyen regarding his inquiries, Mr. Dunbar
 2   reached out yet again on October 12, 2021 to engage in the interactive process in good
 3   faith. Mr. Dunbar sent an email to Ms. Nguyen stating: “Erin: It’s come to my attention
 4   that Disney believes that the documentation for medical and religious exceptions are
 5   insufficient and you might have some questions for me. I want to make it clear that I am
 6   available to have a discussion with you to answer any questions. If you have questions
 7   for me, please e-mail them to me ASAP.”
 8         54.    Nevertheless, Ms. Nguyen never emailed Mr. Dunbar any questions
 9   regarding his religious exemption. Instead, that same day, Mr. Dunbar received a
10   response email from Ms. Nguyen: “Hello Rockmond, and thank you for your email. This
11   is now in the hands of Disney Legal, who I understand has been in touch with your
12   representative. Thanks very much.”
13         55.    Despite claiming Mr. Dunbar’s exemptions were being handled by the legal
14   department and thus out of her hands, the following day, October 13, 2021, Ms. Nguyen
15   sent Mr. Dunbar an email requesting additional information about his medical exemption
16   request while ignoring his religious exemption request. Ultimately, Defendants refused
17   Mr. Dunbar’s medical exemption request because they would not accept his doctor’s
18   signed letters, even after the physician made Disney’s requested changes to the letter.
19         56.    After a Disney-affiliated physician interviewed Mr. Dunbar’s physician,
20   Defendants insisted Mr. Dunbar provide more information regarding his medical
21   condition, but given how he was being treated, he was concerned about either leaks to
22   the public or retaliation against him if he provided Defendants with more personal
23   information regarding his medical condition.
24         57.    October 18, 2021 was Mr. Dunbar’s last day shooting on set for “9-1-1.”
25         58.    Even though this was Mr. Dunbar’s last day on set, Defendants did not
26   terminate his employment at this time. To the contrary, during Mr. Dunbar’s last episode,
27   his character left Los Angeles, where the show is set, and went to Haiti on a humanitarian
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 1   mission, but it was clear from a story standpoint that he could return to the show at any
 2   time.
 3           59.   The producers of “9-1-1” told Mr. Dunbar they were very pleased with his
 4   work. In this regard, the producer, showrunner, and creator of “9-1-1,” Mr. Minear,
 5   specifically offered to make reasonable accommodations for Mr. Dunbar on set so he
 6   could remain on the show during the pandemic despite his unvaccinated status.
 7           60.   In addition, Mr. Minear stated in his interview published on the Decider
 8   website on January 3, 2022 that he “supported his [Mr. Dunbar’s] autonomy to make
 9   decisions for himself. And I also explained that the company has a policy, and we work
10   for a company, and there’s only so much I can do. But what I did do was, I facilitated as
11   grateful an exit as I could for him. I didn’t kill him. I could have had his brain tumor
12   come back. But we decided we would give him an elegant exit so that if this madness
13   ever went away, it doesn’t completely foreclose the possibility of him coming back.”
14           61.   Entertainment publication Daily Soap Dish reported on November 18, 2021
15   that the social media response to Mr. Dunbar’s “9-1-1” exit was “one of sympathy. Many
16   people felt that this decision was not justifiable, given that he did have an exemption.”
17                     Disparagement of Mr. Dunbar’s Religious Beliefs
18           62.   Defendants’    communications      regarding    Mr.    Dunbar’s     religious
19   accommodation request conveyed Defendants’ bias against Universal Wisdom. This bias
20   against Mr. Dunbar’s beliefs is clear evidence of the intent to discriminate, regardless of
21   Mr. Dunbar’s sincerely held religious beliefs, and the evidence he submitted to
22   Defendants to establish his sincerity.
23           63.   As an example, on or about October 13, 2021, Ms. Menton, Assistant
24   General Counsel for Disney, remarked to Mr. Dunbar’s prior attorney, Young Park, that
25   his religion is “fake” and that Mr. Dunbar is merely an “anti-vaxxer,” or words to that
26   effect. Ms. Menton’s remarks were characteristic of the approach Defendants took to
27   Mr. Dunbar’s exemption requests.
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 1         64.     Similarly, the process that Defendants went through to evaluate Mr.
 2   Dunbar’s exemption requests appeared to Mr. Dunbar haphazard at best and thoroughly
 3   opaque. It was not clear which Defendant was ultimately making what decisions. From
 4   what Mr. Dunbar could see, it appeared that Ms. Nguyen and/or Ms. Menton served as
 5   the judge of his exemption requests, even though they are Disney employees and Mr.
 6   Dunbar’s contract was with Fox.
 7               Defendants Terminate Mr. Dunbar’s Employment and Leak Negative
 8                                            Information
 9         65.     On November 1, 2021, Mr. Dunbar’s counsel, Siri & Glimstad LLP (“Siri
10   & Glimstad”), sent a letter to Ms. Menton at Disney addressing Mr. Dunbar’s religious
11   and medical accommodation requests. The letter described how Defendants’ actions
12   were discriminatory on the basis of Mr. Dunbar’s religious beliefs and his race and how
13   they had a disparate impact on Mr. Dunbar.
14         66.     Apparently in response to Siri & Glimstad’s letter, on November 10, 2021,
15   Mr. Dunbar received an email from an email address labeled “DGE Employee
16   Accommodation Requests,” and signed by the “Disney General Entertainment Employee
17   Relations Team.” In that email, Disney (apparently on behalf of Fox) rejected Mr.
18   Dunbar’s requests for a religious and/or medical exemption to their COVID-19
19   vaccination mandate. Specifically, with regard to the religious accommodation request,
20   Disney stated that its Employee Relations Team had “researched the source of the letter
21   you [i.e., Mr. Dunbar] provided and we cannot accept it as a basis for considering your
22   request for an exception without discussing further with you.”
23         67.     However, Defendants clearly never had any intention of “discussing further”
24   Mr. Dunbar’s religious exemption because on that same day, November 10, 2021, Mr.
25   Dunbar received a letter from Fox terminating his entire employment contract.
26         68.     Nothing in the termination letter suggested that Fox was in any way
27   displeased with his work. Instead, the only reason provided by Defendants for Mr.
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 1   Dunbar’s termination was his failure to comply with their COVID-19 policy by
 2   compromising his religious beliefs and obtaining the COVID-19 vaccination. This
 3   termination was not justified because Mr. Dunbar had requested a religious
 4   accommodation that Defendants had wrongfully denied. The letter went on to claim that
 5   Mr. Dunbar’s actions had supposedly breached the employment agreement and as a result
 6   Defendants were “therefore released and discharged from all obligations to Lender [i.e.,
 7   Mr. Dunbar’s loan out company, Epiphany Entertainment] and Artist [i.e., Mr. Dunbar],
 8   including, without limitation, the obligation to pay Lender any further compensation
 9   under the Agreement.” Fox then stated that it would “only pay Lender for Player’s
10   services up to and including episode 509 of the Series.”
11           69.   Thus, by summarily denying Mr. Dunbar’s accommodation requests without
12   even engaging in reasonable discussions as they suggested in the November 10th email,
13   Defendants were denying Mr. Dunbar over $1.3 million in compensation owed to him
14   under the contract.
15           70.   Even assuming Fox could terminate Mr. Dunbar’s contract for the reasons
16   given, which it could not, Defendants sent Mr. Dunbar this letter after episode 510
17   commenced filming, which entitles him to his “pay or play” compensation for that
18   episode. However, Disney refused to pay him this amount unless he agreed to forego this
19   suit.
20           71.   Mr. Dunbar’s last episode of “9-1-1,” episode 509, aired on November 15,
21   2021.
22           72.   The next day, on November 16, 2021, the website Deadline published an
23   article titled: “Rockmond Dunbar Exits ‘9-1-1’ Over Covid Vaccine Mandate After
24   Pursuing Medical & Religious Exemptions.”
25           73.   Deadline gave Mr. Dunbar’s agents approximately 30 minutes to provide a
26   comment prior to publishing the article. Even though Mr. Dunbar provided a quote for
27   the article, that was only after finding out that it would contain leaked information
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 1   regarding his exemption requests. The leaked information only could have originated
 2   from Defendants.     On information and belief, Defendants leaked this information
 3   intentionally to harm Mr. Dunbar’s future career in retaliation for Mr. Dunbar’s request
 4   for a religious accommodation and subsequent challenge of Defendants regarding their
 5   denial of his request. The Deadline article implied that Mr. Dunbar’s religious exemption
 6   was insincere.
 7         74.    After Deadline published its story, similar stories about Mr. Dunbar were
 8   published in numerous other publications, including Variety and Entertainment Weekly,
 9   ensuring that his religious accommodation requests, and the negative light placed on them
10   by the leaks from Defendants, became well known in the entertainment industry.
11         75.    On information and belief, Defendants intentionally leaked information to
12   Deadline the day after Mr. Dunbar’s last appearance on “9-1-1” as a proverbial “shot
13   across the bow” to discourage Mr. Dunbar from further pursuing his claims, and to signal
14   to the entertainment industry that Mr. Dunbar should not be hired. Publicly calling him
15   out also served to show other actors in the entertainment industry that they should not try
16   to stand up for their religious beliefs because they too could be fired.
17          Defendants Admit Their Wrongful Denial of Mr. Dunbar’s Religious
18                Accommodation Was Based on Blatantly Inaccurate Facts
19         76.    On November 19, 2021, Paul Hastings, counsel for Fox sent a letter to Siri
20   & Glimstad arguing that Mr. Dunbar’s religious beliefs are insincere. The letter claimed
21   that Fox (though really Disney, acting on Fox’s behalf) based this conclusion on the fact
22   that Mr. Dunbar had previously received tattoos and ear piercings.
23         77.    However, the reality is that Mr. Dunbar received the body decorations Paul
24   Hastings referred to many years before he became an adherent to Universal Wisdom. Mr.
25   Dunbar received his most recent tattoo approximately 20 years ago and had his ears
26   pierced approximately 30 years ago. Since becoming an adherent to Universal Wisdom,
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 1   Mr. Dunbar has not received any new tattoos or piercings.2
 2         78.    Paul Hastings’ November 19th letter also claimed that unnamed
 3   representatives of Mr. Dunbar had supposedly told Defendants that Mr. Dunbar’s beliefs
 4   were insincere and that his wife threatened to divorce him if Mr. Dunbar received the
 5   COVID-19 vaccine. This supposed statement was patently false and malicious. Mr.
 6   Dunbar never made such a statement, and all of his representatives have denied ever
 7   making that statement. Mr. Dunbar believes that Disney fabricated that statement as a
 8   means to discredit Mr. Dunbar’s beliefs and to defame him.
 9         79.    Paul Hastings’ letter    further stated that Defendants had based their
10   determination on the fact that Mr. Dunbar had supposedly requested a medical exemption
11   prior to seeking a religious exemption. However, again, Defendants were wrong. Mr.
12   Dunbar’s representatives informed Defendants that he would seek both exemptions as
13   part of the same communication. The fact that his paperwork for the medical exemption
14   may have been submitted a few days before the paperwork for the religious exemption is
15   entirely immaterial. And, furthermore, the fact that a person seeks both exemptions has
16   no bearing on whether either exemption is legitimate and sincere because someone can
17   both have a medical counterindication to vaccination and a sincere religious belief against
18   the practice as well.
19         80.    Lastly, Paul Hastings claimed that Mr. Dunbar “joined the Congregation of
20   Universal Wisdom after Twentieth Century announced its mandatory vaccination policy”
21   simply because the letter from the minister attesting to Mr. Dunbar’s membership was
22   dated in September 2021. Had Defendants engaged with Mr. Dunbar in an interactive
23   2
       Paul Hastings letter relied on an article on the Essence website that they claim was
24   published in 2020, wherein Mr. Dunbar professed that he liked getting tattoos. However,
     the actual article merely stated that it was “UPDATED OCTOBER 29, 2020.” As
25
     explained in Siri & Glimstad’s November 29th letter, that article was originally published
26   in December 2009 based on an interview with Mr. Dunbar that year, a fact made plain by
27   the content of the article as well as by the original article still being available
     (https://www.essence.com/news/rockmond-dunbar-changing-the-game/?amp=1).
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 1   process, rather than simply denying the request based on assumptions and then firing him,
 2   Mr. Dunbar could have explained that he has been an adherent to Universal Wisdom since
 3   2013.
 4           81.   Prior to Paul Hastings’ letter, neither Defendants nor Paul Hastings had ever
 5   asked Mr. Dunbar about his tattoos, his piercings, his unnamed representative’s
 6   statements, his wife’s supposed statements, his reasons for seeking both
 7   accommodations, or the circumstances of his joining Universal Wisdom in the context of
 8   his religious beliefs or his exemption requests. Thus, their assertion that these issues
 9   invalidated the sincerity of his beliefs was based entirely on Defendants’ own ill-
10   informed assumptions.
11           82.   On November 29, 2021, Siri & Glimstad sent a letter to Paul Hastings
12   explaining how their assumptions and false statements about Mr. Dunbar were entirely
13   incorrect. However, Defendants did not change their decision in response to learning the
14   true facts surrounding their supposed reasons for denying his accommodation request,
15   which is further evidence that those reasons were merely a pre-text for discriminating
16   against Mr. Dunbar based on his faith.
17   Defendants Refusal of Mr. Dunbar’s Continued Attempts to Explain His Religious
18                                             Beliefs
19           83.   On December 7, 2021, representatives from Siri & Glimstad and Paul
20   Hastings met to discuss Mr. Dunbar’s termination. During that meeting, Paul Hastings
21   indicated that if Mr. Dunbar had additional information to provide regarding his religious
22   accommodation request, Defendants would consider it and use it to determine whether to
23   alter their denial of that request.
24           84.   Mr. Dunbar wanted to allow Defendants every opportunity to correct their
25   mistake, and therefore, on December 10, 2021, Siri & Glimstad sent a letter to Paul
26   Hastings re-explaining the nature and sincerity of Mr. Dunbar’s sincere religious beliefs,
27   and offered to respond in writing to any further inquiries Defendants may have regarding
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 1   those beliefs.
 2         85.    Prior to the 2021 Christmas holiday, representatives from Paul Hastings
 3   asked that Defendants be provided until after the New Year to respond regarding Mr.
 4   Dunbar’s religious accommodation request.
 5         86.    Thereafter, on January 7, 2022, representatives from Paul Hastings emailed
 6   Siri & Glimstad to state that Defendants required no additional information because they
 7   would not reconsider the denial of Mr. Dunbar’s requests.
 8                           Defendants’ Refusal to Accommodate
 9         87.    In both its November 19th letter and in its January 7th email, Paul Hastings
10   stated that, even if Defendants had accepted his accommodation request “there would
11   have been no reasonable accommodations available that would have allowed him to
12   perform the essential functions of his role while adequately protecting the health and
13   safety of Mr. Dunbar and his colleagues.” Nevertheless, this claim that Defendants could
14   not accommodate Mr. Dunbar’s request are disingenuous for several reasons. First, they
15   made this statement only after they sought and accepted religious accommodation
16   requests from Zone A actors like Mr. Dunbar; if they were genuinely unable to
17   accommodate any actor’s religious accommodation requests then there would have been
18   no reason to even seek such requests.
19         88.    Second, the producers of “9-1-1” had told Mr. Dunbar that they wanted to
20   keep him on the show and would be able to accommodate his needs. During filming of
21   his scenes for the first 9 episodes of season five of the show, all of which were filmed
22   during 2021, the producers implemented procedures intended to protect the cast and crew
23   (including Mr. Dunbar) from exposure to COVID-19. On information and belief, most
24   if not all of those same procedures have continued even after the vaccine mandate.
25   Despite these safety protocols, according to news reports, 3 the “9-1-1” show has
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       “Covid Surge Reportedly Forces ‘NCIS: LA’ And ‘9-1-1’ To Postpone Production,”
     https://www.forbes.com/sites/kimberleespeakman/2022/01/05/covid-surge-reportedly-
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 1   continued to experience production shutdowns due to breakthrough infections, even after
 2   Defendants implemented their COVID-19 mandate. Therefore, there is no reason why
 3   those procedures could not continue in order to accommodate Mr. Dunbar and other
 4   members of the cast and crew.
 5         89.   Furthermore, as noted, the showrunner for “9-1-1” told Mr. Dunbar in no
 6   uncertain terms that the show could accommodate Mr. Dunbar’s religious beliefs and
 7   would have been able to safely continue production with Mr. Dunbar’s involvement in
 8   the show.
 9         90.   In addition, as a result of a prior SARS-CoV-2 infection (not contracted
10   while working for Defendants), Mr. Dunbar’s body has generated immunity to this virus
11   (“natural immunity”). This immunity is more robust and durable than the immunity
12   from vaccination (“vaccine immunity”). In fact, the data and science to date leave no
13   doubt that Mr. Dunbar’s vaccinated peers are more likely to become infected with and
14   spread the virus than Mr. Dunbar.
15         91.   Third, on information and belief, Defendants accommodated exemption
16   requests from other actors on the cast of “9-1-1,” none of whom are black and none of
17   whom sought a religious based accommodation. Mr. Dunbar understands that others
18   associated with the show were granted vaccine related accommodations, e.g., in the form
19   of paid time-off, for non-religious reasons while Mr. Dunbar was denied an
20   accommodation and terminated.
21         92.   On information and belief, Disney has a history of racial discrimination, and
22   Mr. Dunbar was subjected to disparate treatment and disparate impact discrimination on
23   the basis of his race. On information and belief, non-minority employees similarly
24   situated were not subject to termination when they refused the COVID-19 vaccine.
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 1   Defendants’ Discriminatory and Retaliatory Actions Have Damaged Mr. Dunbar’s
 2           Reputation and Caused him to Lose Hundreds of Thousands of Dollars
 3           93.   As noted, because Defendants wrongfully denied Mr. Dunbar’s
 4   accommodation request, they have claimed that his refusal to compromise his sincerely
 5   held religious beliefs was a breach of his employment agreement. Mr. Dunbar had a
 6   “pay-or-play” agreement whereby even if he did not appear in an episode of “9-1-1,” he
 7   would still be compensated. However, based on Defendants’ claim that he breached his
 8   agreement, Defendants have refused to pay Mr. Dunbar the amounts guaranteed for the
 9   remaining episodes of the fifth season of “9-1-1,” totaling approximately $723,800.
10   Defendants also refused to pay Mr. Dunbar a bonus he earned, worth $352,296, and may
11   refuse to pay between $200,000 and $300,000 in residual payments that are owed over
12   time.
13           94.   Beyond their wrongful claims of breach, Defendants’ discriminatory and
14   retaliatory actions have severely damaged Mr. Dunbar’s professional reputation. For
15   example, as a result of Defendants’ representatives intentionally and maliciously leaking
16   information to media outlets, Mr. Dunbar has been essentially “blacklisted” and publicly
17   labeled a “non-complier” and “anti-vaxxer.”
18           95.   Prior to Defendants’ actions, Mr. Dunbar had a number of television and
19   movie projects in active development. Since Defendants leaked information about Mr.
20   Dunbar’s accommodation requests, he has lost numerous opportunities on those projects
21   and has had multiple actors refuse to work with him for fear of also being “blacklisted”
22   by association with him.
23           96.   To date, Mr. Dunbar’s agents and managers are fielding “availability
24   checks” regarding his services. These inquiries routinely include accolades for Mr.
25   Dunbar’s career accomplishments, but also include that Mr. Dunbar has been placed on
26   a “do not hire” list.
27           97.   Defendants intentionally retaliated against Mr. Dunbar by making the
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 1   circumstances of his accommodation request public, and therefore, are responsible for
 2   this damage to his reputation and future career.
 3   Defendants’ Discriminatory and Retaliatory Actions Directly Lead to Damages on
 4                     a Project Mr. Dunbar Had Long Been Working on
 5           98.   Before Defendants improperly leaked information regarding Mr. Dunbar to
 6   Deadline, Mr. Dunbar and his wife entered into a contract to secure funding prior to
 7   receiving deal memos for a film project titled, “The Rearing,” (hereinafter “the Project”)
 8   that they had been developing for years.
 9           99.   Specifically, Mr. Dunbar and his wife secured $1,000,000 in investment
10   funds on November 8, 2021 from a professional athlete/investor and an independent
11   production company for the Project. All supporting documentation was submitted to the
12   Screen Actors Guild (“SAG”) for union approval, which was obtained on December 7,
13   2021.
14           100. The Project provided Mr. Dunbar and his wife financial benefits as
15   compensation for writing, producing, and co-directing the Project.
16           101. Defendants knew that the Project was in progress and that Mr. Dunbar was
17   auditioning talent for the Project because it was listed on the industry “Breakdown
18   Services” official site for the tv series/films currently casting.
19           102. Casting for the Project began on December 8, 2021. Three lead roles were
20   advertised to A and B list talent for six-figure salaries.
21           103. Mr. Dunbar and his wife received positive feedback from agents after
22   reading the script for the Project and were engaged by multiple A and B list talent for the
23   three lead roles for the Project.
24           104. However, agents began to communicate to Mr. Dunbar’s casting director for
25   the Project their concerns. Specifically, actors who were interested in the Project were
26   unwilling to audition because of their fear of bad publicity about being associated with
27   Mr. Dunbar due to his being blacklisted over the vaccine controversy publicized by
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 1   Defendants.
 2         105. One by one, A and B list talent backed away from the Project, because of
 3   the negative media generated by Defendants.
 4         106. Mr. Dunbar and his wife were forced to offer the Project’s lead roles to B,
 5   C and D list actors. Although these actors are promising undiscovered talent, the
 6   Project’s investors retracted $500,000 in funding from the budget as a result of the
 7   casting.
 8         107. Thus, Defendants’ wrongful conduct of leaking information to Deadline,
 9   and thereby damaging Mr. Dunbar’s reputation, resulted in Mr. Dunbar losing talent and
10   funding for the Project.
11         108. Prior to the Deadline article, Mr. Dunbar had never before been the subject
12   of major negative publicity in the entertainment industry, and was well thought of in the
13   industry for the past 30 years.
14         109. As a direct and proximate cause of Defendants’ wrongful conduct alleged
15   above, which was a substantial factor in the interference of Mr. Dunbar’s ability to enjoy
16   the benefits of his contract for the Project, Mr. Dunbar has suffered financial damages in
17   an amount subject to proof, but in any case, exceeding $1,000,000, the exact damage
18   amount to be determined according to proof at the time of trial.
19                              Exhaustion of Administrative Remedies
20         110. The U.S. Equal Employment Opportunity Commission, Los Angeles area
21   office, issued Mr. Dunbar a notice of right to sue on January 26, 2022 in Charge No. 480-
22   2022-02042 against the Walt Disney Company and Charge No. 480-2022-02043 against
23   Twentieth Television.
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 1                                  FIRST CAUSE OF ACTION
 2                     Violation of Title VII of the Civil Rights Act of 1964
 3                                     42 U.S.C § 2000e, et seq.
 4                                     Religious Discrimination
 5          111. Mr. Dunbar hereby realleges and adopts each and every allegation in the
 6   preceding paragraphs above as if fully set forth herein.
 7          112. Title VII prohibits discrimination against employees on the basis of their
 8   religion. 42 U.S.C. § 2000e(j); 42 U.S.C. § 2000e-2(a) (“It shall be an unlawful
 9   employment practice for an employer … to fail or refuse to hire or to discharge any
10   individual, or otherwise to discriminate against any individual with respect to his
11   compensation, terms, conditions, or privileges of employment because of such
12   individual's race, color, religion, sex, or national origin ....”).
13          113. Title VII defines the protected category of religion to include “all aspects of
14   religious observance and practice, as well as belief.” 42 U.S.C. § 2000e(j). Moreover, as
15   the EEOC has made clear, Title VII's protections also extend to nonreligious beliefs if
16   related to morality, ultimate ideas about life, purpose, and death. See EEOC, Questions
17   and Answers: Religious Discrimination in the Workplace (June 7, 2008),
18   https://www.eeoc.gov/laws/guidance/questions-and-answersreligious-discrimination-
19   workplace (“Title VII’s protections also extend to those who are discriminated against or
20   need accommodation because they profess no religious beliefs.”); (Id. (“Religious beliefs
21   include theistic beliefs (i.e. those that include a belief in God) as well as non-theistic
22   ‘moral or ethical beliefs as to what is right and wrong which are sincerely held with the
23   strength of traditional religious views.’ ”).)
24          114. By, inter alia, refusing to engage in the interactive process to permit Mr.
25   Dunbar to establish his sincere religious beliefs, by wrongfully denying him any religious
26   accommodation or exemption to Defendants’ COVID-19 vaccine mandate without any
27   reason for doing so, and then by terminating Mr. Dunbar without justification, Defendants
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 1   discriminated against Mr. Dunbar based on his sincerely held religious beliefs with
 2   respect to the terms, conditions, and privileges of employment.
 3          115. Defendants have unlawfully discriminated against Mr. Dunbar by
 4   discharging him for the exercise of his religious beliefs.
 5          116. Mr. Dunbar has a bona fide and sincerely held religious belief that precludes
 6   him from obtaining any of the COVID-19 vaccines, as outlined above.
 7          117. Mr. Dunbar’s sincerely held religious beliefs conflict with Defendants’
 8   policies that require him to obtain the COVID-19 vaccine.
 9          118. Mr. Dunbar raised his sincerely held religious beliefs with Defendants,
10   brought his objections and request for a religious accommodation and exemption to
11   Defendants’ attention, and requested a religious exemption and accommodation from the
12   COVID-19 vaccine mandate.
13          119. Defendants’ termination, denial of benefits, and other adverse employment
14   actions against Mr. Dunbar were motivated by, and are the result of, his exercise of his
15   sincerely held religious beliefs.
16          120. Defendants lacked any justification for the adverse employment actions
17   taken against Mr. Dunbar, and said actions were neither based on job-related rational nor
18   consistent with business necessity.
19          121. Defendants’ discrimination against Mr. Dunbar was intentional and was
20   performed with malice, willfulness, and reckless indifference to Mr. Dunbar’s protected
21   civil rights.
22          122. Any justification offered by Defendants for their adverse employment
23   actions is either false or insufficient to support the nature of the adverse employment
24   actions taken.
25          123. Defendants, therefore, violated Title VII, and Mr. Dunbar is entitled to the
26   relief set out more fully below, including compensatory damages, back pay, front pay,
27   compensation for benefits, past and future medical and counseling expenses to the extent
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 1   any exist, interest, and reasonable attorneys’ fees and costs of the action pursuant to 42
 2   U.S.C. § 2000e-5(k).
 3          124. As a result of Defendants’ intentional violation of the Title VII rights of Mr.
 4   Dunbar, he suffered anguish, humiliation, distress, inconvenience, and loss of enjoyment
 5   of life, thereby entitling him to compensatory damages.
 6          125. The events described here justify an award of punitive damages under Title
 7   VII.
 8          126. Defendants’ refusal to consider or grant Mr. Dunbar’s request for
 9   accommodation and exemption from the COVID-19 vaccine mandate has caused, is
10   causing, and will continue to cause irreparable harm and actual and undue hardship on
11   Mr. Dunbar’s sincerely held religious beliefs.
12          127. Mr. Dunbar has no adequate remedy at law for the continuing deprivation
13   of his most cherished constitutional liberties and sincerely held religious beliefs.
14          128. Mr. Dunbar is entitled to other such relief as this court deems appropriate.
15          WHEREFORE, Mr. Dunbar respectfully prays for relief against Defendants as
16   hereinafter set forth in his prayer for relief.
17                                SECOND CAUSE OF ACTION
18                     Violation of Title VII of the Civil Rights Act of 1964
19                                     42 U.S.C § 2000e, et seq.
20                           Disparate Impact on the Basis of Religion
21          129. Mr. Dunbar hereby realleges and adopts each and every allegation in
22   paragraphs 1-110 above as if fully set forth herein.
23          130. Title VII makes it illegal for an employer to “limit, segregate, or classify his
24   employees or applicants . . . in any way which would deprive or tend to deprive any
25   individual of employment opportunities . . . because of such individual’s . . . religion ...”
26   42 U.S.C. § 2000e-2(a)(2).
27          131. Furthermore, the statute provides that an unlawful employment practice
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 1   based on disparate impact is established when either an employee shows that an
 2   employment policy causes such a disparate impact and the employer fails to show “that
 3   the challenged practice is job related . . . and consistent with business necessity,” or the
 4   employee shows there is an alternative way to serve the stated needs but the employer
 5   refuses it. 42 U.S.C. § 2000e-2(k)(1)(A).
 6          132. Even if facially neutral, Defendants’ vaccination policy, by not recognizing
 7   and accommodating a sincere religious belief, had a disparate impact on Mr. Dunbar by
 8   forcing him to abandon his religious obligation or forgo employment with Defendants.
 9          133. Defendants’ refusal to recognize and accommodate a sincere religious belief
10   was neither required for Mr. Dunbar’s job nor consistent with business necessity.
11   Moreover, Defendants improperly refused Mr. Dunbar’s less-restrictive but feasible
12   options of continuing to be employed with appropriate COVID-19 mitigation precautions
13   in place, as they had been during his work for Defendants in 2021 and/or as they did for
14   other unvaccinated employees in similar positions to Mr. Dunbar.
15          134. As a direct and proximate result of this additional unlawful action by
16   Defendants under Title VII, Mr. Dunbar suffered lost income and other economic and
17   non-economic damages.
18          WHEREFORE, Mr. Dunbar respectfully pray for relief against Defendants as
19   hereinafter set forth in his prayer for relief.
20                                 THIRD CAUSE OF ACTION
21                     Violation of Title VII of the Civil Rights Act of 1964
22                                     42 U.S.C § 2000e, et seq.
23                                       Race Discrimination
24          135.   Mr. Dunbar hereby realleges and adopts each and every allegation in
25   paragraphs 1-110 above as if fully set forth herein.
26          136. According to 42 U.S.C. § 2000e-2(a)(1) ("It shall be an unlawful
27   employment practice for an employer to fail or refuse to hire or to discharge any
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 1   individual, or otherwise to discriminate against any individual with respect to his
 2   compensation, terms, conditions, or privileges of employment, because of such
 3   individual's race.")
 4          137. Defendants accommodated and/or did not terminate other actors on “9-1-1”
 5   who were similarly situated to Mr. Dunbar, but none of whom are black.
 6          138. On information and belief, Disney has a history of discrimination, and Mr.
 7   Dunbar was subjected to disparate treatment and disparate impact discrimination on the
 8   basis of his race, national origin, and/or color. Non-minority employees similarly situated
 9   were not subject to termination by avoiding the COVID-19 vaccine.
10          139. Defendants’ termination, denial of benefits, and other adverse employment
11   actions against Mr. Dunbar were motivated by, and are the result of, his race, national
12   origin and/or color.
13          140. Defendants lacked any justification for the adverse employment actions
14   taken against Mr. Dunbar, and said actions were neither based on job-related rational nor
15   consistent with business necessity.
16          141. Defendants’ discrimination against Mr. Dunbar was intentional and was
17   performed with malice, willfulness, and reckless indifference to Mr. Dunbar’s protected
18   civil rights.
19          142. Any justification offered by Defendants for their adverse employment
20   actions is either false or insufficient to support the nature of the adverse employment
21   actions taken.
22          143. The above described acts of Defendants constitute discrimination on the
23   basis of his race, national origin and/or color in violation of public policy and Title VII.
24          144. By the aforesaid acts and conduct of Defendants, and each of them, Mr.
25   Dunbar has been directly and legally caused to suffer actual damages, as set out more
26   fully below, including compensatory damages, back pay, front pay, compensation for
27   benefits, past and future medical and counseling expenses to the extent any exist, interest,
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 1   and reasonable attorneys’ fees and costs of the action pursuant to 42 U.S.C. § 2000e-
 2   5(k).
 3           145. As a result of Defendants’ intentional violation of the Title VII rights of Mr.
 4   Dunbar, he suffered anguish, humiliation, distress, inconvenience and loss of enjoyment
 5   of life, thereby entitling him to compensatory damages.
 6           146. The events described here justify an award of punitive damages under Title
 7   VII.
 8           147. Mr. Dunbar is entitled to other such relief as this court deems appropriate.
 9           WHEREFORE, Mr. Dunbar respectfully pray for relief against Defendants as
10   hereinafter set forth in his prayer for relief.
11                                FOURTH CAUSE OF ACTION
12                     Violation of Title VII of the Civil Rights Act of 1964
13                                     42 U.S.C § 2000e, et seq.
14                                            Retaliation
15           148. Mr. Dunbar hereby realleges and adopts each and every allegation in
16   paragraphs 1-110 above as if fully set forth herein.
17           149. 42 U.S.C. 2000e-3(a) makes it unlawful for any person to retaliate against
18   an employee who has opposed a discriminatory practice. Specifically, under 42 U.S.C.
19   § 2000e-3: “It shall be an unlawful employment practice for an employer to discriminate
20   against any of his employees or applicants for employment, for an employment agency...
21   because he has opposed any practice made an unlawful employment practice by this
22   subchapter, or because he has made a charge, testified, assisted, or participated in any
23   manner in an investigation, proceeding, or hearing under this subchapter.”
24           150. As described above, Defendants took adverse employment action against
25   Mr. Dunbar because he engaged in the protected activity of complaining about the
26   discrimination he suffered based on his religious beliefs, race, national origin and/or
27   color, including wrongfully terminating his employment contract, depriving him of
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 1   financial compensation pursuant to the contract and intentionally harming Mr. Dunbar’s
 2   reputation in the industry,        thereby intentionally interfering with Mr. Dunbar’s
 3   prospective economic advantage.
 4          151. Defendants’ actions constitute unlawful retaliation in violation of Title VII.
 5          152. Defendants lacked any justification for the adverse employment actions
 6   taken against Mr. Dunbar, and said actions were neither based on job-related rational nor
 7   consistent with business necessity.
 8          153. Defendants’ discrimination against Mr. Dunbar was intentional and was
 9   performed with malice, willfulness, and reckless indifference to Mr. Dunbar’s protected
10   civil rights.
11          154. Any justification offered by Defendants for their adverse employment
12   actions is either false or insufficient to support the nature of the adverse employment
13   actions taken.
14          155. By the aforesaid acts and conduct of Defendants, and each of them, Mr.
15   Dunbar has been directly and legally caused to suffer actual damages, as set out more
16   fully below, including compensatory damages, back pay, front pay, compensation for
17   benefits, past and future medical and counseling expenses to the extent any exist, interest,
18   and reasonable attorneys’ fees and costs of the action pursuant to 42 U.S.C. § 2000e-5(k).
19          156. As a result of Defendants’ intentional violation of the Title VII rights of Mr.
20   Dunbar, he suffered anguish, humiliation, distress, inconvenience and loss of enjoyment
21   of life, thereby entitling him to compensatory damages.
22          157. The events described here justify an award of punitive damages under Title
23   VII.
24          158. Mr. Dunbar is entitled to other such relief as this court deems appropriate.
25          WHEREFORE, Mr. Dunbar respectfully pray for relief against Defendants as
26   hereinafter set forth in his prayer for relief.
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 1                                FIFTH CAUSE OF ACTION
 2                           Violation of Mr. Dunbar’s Civil Rights
 3                                        42 U.S.C. § 1985
 4         159. Mr. Dunbar hereby realleges and adopts each and every allegation in
 5   paragraphs 1-110 above as if fully set forth herein.
 6         160. Section 1985 provides a cause of action against public and private
 7   defendants who unlawfully conspire to deprive an individual of his constitutionally
 8   protected liberties. 42 U.S.C. § 1985(3) (“If two or more persons in any State or Territor
 9   conspire … for the purpose of depriving, either directly or indirectly, any person or class
10   of persons of the equal protection of the laws, or of equal privileges and immunities under
11   the laws“).
12         161. The elements of the claim of conspiracy to violate civil rights under 1985
13   include (1) a conspiracy, (2) a conspiratorial purpose to deprive Mr. Dunbar of the equal
14   protection of the laws or of a constitutionally protected liberty, (3) an overt act in
15   furtherance of the conspiracy, and (4) a deprivation of a constitutionally protected right.
16   See Fazaga v. FBI, 916 F.3d 1202, 1245 (9th Cir. 2019)
17         162. Defendants’ COVID-19 vaccine mandate, combined with Defendants’
18   agreements to enforce its provisions in a discriminatory manner and deny Mr. Dunbar’s
19   request for a religious exemption, constitutes a conspiracy to violate Mr. Dunbar’s civil
20   and constitutional rights based on his religious beliefs, race, national origin and/or color.
21         163. Ms. Menton, Ms. Nguyen, and other representatives of Defendants have all
22   reached an agreement with Defendants to deprive Mr. Dunbar of any exemption or
23   accommodation for the exercise of his sincerely held religious beliefs.
24         164. Defendants’ agreement to deprive Mr. Dunbar of his constitutionally
25   protected liberties is evidenced in its refusal to engage in the interactive process with Mr.
26   Dunbar and denial of his request for a religious exemption and accommodation,
27   especially given the false and inaccurate basis for reaching that conclusion.
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 1            165. Ms. Menton and Ms. Nguyen made statements disparaging Mr. Dunbar’s
 2   sincerely held religious beliefs.
 3            166. By agreeing to refuse to even consider Mr. Dunbar’s requests for religious
 4   exemption and accommodation, Defendants have reached an express or tacit agreement
 5   to deprive Mr. Dunbar of his constitutionally protected rights to equal protection and
 6   religious exercise.
 7            167. Defendants’ have engaged in an overt act in furtherance of the conspiracy to
 8   deprive Mr. Dunbar of his civil rights by failing to engage in the interactive process and
 9   terminating Mr. Dunbar’s employment.
10            168. Defendants have each engaged in an overt act in furtherance of the
11   conspiracy to deprive Mr. Dunbar of his civil rights by refusing to consider, evaluate, or
12   accept Mr. Dunbar's request for a religious exemption and accommodation from the
13   COVID-19 vaccine mandate.
14            169. By denying Mr. Dunbar his requested religious exemption and
15   accommodation and terminating his employment because of the exercise of his sincerely
16   held religious beliefs, Defendants' conspiracy has resulted in a deprivation of Mr.
17   Dunbar’s constitutionally protected rights based on his religious beliefs, race, national
18   origin, and/or color.
19            170. By the aforesaid acts and conduct of Defendants and their employees Mr.
20   Dunbar has been directly and legally caused to suffer actual damages, as set out more
21   fully below
22            171. By the aforesaid acts and conduct of Defendants and their employees
23   Defendants have caused, are causing, and will continue to cause irreparable harm and
24   actual and undue hardship based on his religious beliefs, race, national origin, and/or
25   color.
26            172. Mr. Dunbar has no adequate remedy at law for the continuing deprivation
27   of their most cherished constitutional liberties and sincerely held religious beliefs.
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 1          173. This Court is authorized to grant Mr. Dunbar prayer for relief regarding
 2   costs, including reasonable attorney’s fees, pursuant to 42 U.S.C. § 1988.
 3          174. Mr. Dunbar is entitled to other such relief as this court deems appropriate.
 4          WHEREFORE, Mr. Dunbar respectfully prays for relief against Defendants as
 5   hereinafter set forth in his prayer for relief.
 6                                  SIXTH CAUSE OF ACTION
 7                 Violation of the California Fair Employment Housing Act
 8                                 Cal. Gov. Code § 12900, et seq.
 9                                    Religious Discrimination
10          175. Mr. Dunbar hereby realleges and adopts each and every allegation in
11   paragraphs 1-110 above as if fully set forth herein.
12          176. At all times herein mentioned, California Government Code § 12900 et seq.,
13   the Fair Employment and Housing Act (“FEHA”), was in full force and effect and was
14   binding on Defendants, as Defendants regularly employed five (5) or more persons.
15          177. Under the FEHA, Government Code section 12900 et. seq., it is an unlawful
16   employment practice for an employer because of a person’s religion, religious creed,
17   religious beliefs, religious practices, or religious observances, to refuse to hire or employ
18   the person, to refuse to select the person for a training program leading to employment,
19   to bar or discharge the person from employment or from a training program leading to
20   employment, or to discriminate against the person in compensation or in terms,
21   conditions, or privileges of employment. It is unlawful under FEHA for any person to
22   aid, abet, incite, compel, or coerce the doing of any of the acts forbidden under FEHA,
23   or to attempt to do so.
24          178. It is unlawful, under the California Government Code section 12900 et seq.,
25   for an employer to fail to take all reasonable steps necessary to prevent discrimination
26   and harassment based on an employee’s religion, or that religion’s creed, beliefs,
27   practices or observances.
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 1         179. By, inter alia, refusing to engage in the interactive process to permit Mr.
 2   Dunbar to establish his sincere religious beliefs, by wrongfully denying him any religious
 3   accommodation or exemption to Defendants’ COVID-19 vaccine mandate without any
 4   reason for doing so, and then by terminating Mr. Dunbar without justification, Defendants
 5   discriminated against Mr. Dunbar based on his sincerely held religious beliefs with
 6   respect to the terms, conditions, and privileges of employment.
 7         180. Defendants have unlawfully discriminated against Mr. Dunbar by
 8   discharging him for the exercise of his religious beliefs.
 9         181. Mr. Dunbar has a bona fide and sincerely held religious belief that precludes
10   him from obtaining any of the COVID-19 vaccines, as outlined above.
11         182. Mr. Dunbar’s sincerely held religious beliefs conflict with Defendants’
12   policies that require him to obtain the COVID-19 vaccine.
13         183. Mr. Dunbar raised his sincerely held religious beliefs with Defendants,
14   brought his objections and request for a religious accommodation and exemption to
15   Defendants' attention, and requested a religious exemption and accommodation from the
16   COVID-19 vaccine mandate.
17         184. Defendants’ termination, denial of benefits, and other adverse employment
18   actions against Mr. Dunbar were motivated by, and are the result of, his exercise of his
19   sincerely held religious beliefs.
20         185. Defendants lacked any justification for the adverse employment actions
21   taken against Mr. Dunbar, and said actions were neither based on job-related rational nor
22   consistent with business necessity.
23         186. As a proximate result of the aforesaid acts of Defendants, Mr. Dunbar has
24   suffered actual, consequential and incidental financial losses, including without
25   limitation, loss of salary and benefits, and the intangible loss of employment related
26   opportunities in his field and damage to his professional reputation, all in an amount
27   subject to proof at the time of trial. Mr. Dunbar claims such amounts as damages pursuant
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 1   to Civil Code § 3287 and/or § 3288 and/or any other provision of law providing for
 2   prejudgment interest.
 3          187. As a proximate result of the wrongful acts of Defendants, Mr. Dunbar has
 4   suffered and continues to suffer emotional distress, humiliation, mental anguish and
 5   embarrassment, as well as the manifestation of physical symptoms as a result of the stress.
 6   Mr. Dunbar is informed and believes and thereupon alleges that he will continue to
 7   experience said physical and emotional suffering for a period in the future not presently
 8   ascertainable, all in an amount subject to proof at the time of trial.
 9          188. As a proximate result of the wrongful acts of Defendants, Mr. Dunbar has
10   been forced to hire attorneys to prosecute his claims herein, and has incurred and is
11   expected to continue to incur attorneys’ fees and costs in connection therewith. Mr.
12   Dunbar is entitled to recover attorneys' fees and costs under California Government Code
13   § 12965(b).
14          189. Mr. Dunbar is entitled to other such relief as this court deems appropriate.
15          WHEREFORE, Mr. Dunbar respectfully pray for relief against Defendants as
16   hereinafter set forth in his prayer for relief.
17                               SEVENTH CAUSE OF ACTION
18                 Violation of the California Fair Employment Housing Act
19                                 Cal. Gov. Code § 12900, et seq.
20                                       Race Discrimination
21          190. Mr. Dunbar hereby realleges and adopts each and every allegation in
22   paragraphs 1-110 above as if fully set forth herein.
23          191. At all times herein mentioned, California Government Code § 12900 et seq.,
24   FEHA, was in full force and effect and was binding on Defendants, as Defendants
25   regularly employed five (5) or more persons.
26          192. California Government Code § 12940(a) requires Defendant to refrain from
27   discriminating against any employee on the basis of race.
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 1          193. The above said acts of Defendants constituted racial discrimination in
 2   violation of public policy and in violation of California Government Code § 12940 et seq.
 3          194. As a proximate result of the aforesaid acts of Defendants, Mr. Dunbar has
 4   suffered actual, consequential, and incidental financial losses, including without
 5   limitation, loss of salary and benefits, and the intangible loss of employment related
 6   opportunities in his field and damage to his professional reputation, all in an amount
 7   subject to proof at the time of trial. Mr. Dunbar claims such amounts as damages pursuant
 8   to Civil Code § 3287 and/or § 3288 and/or any other provision of law providing for
 9   prejudgment interest.
10          195. As a proximate result of the wrongful acts of Defendants, Mr. Dunbar has
11   suffered and continues to suffer emotional distress, humiliation, mental anguish and
12   embarrassment, as well as the manifestation of physical symptoms as a result of the stress.
13   Mr. Dunbar is informed and believes and thereupon alleges that he will continue to
14   experience said physical and emotional suffering for a period in the future not presently
15   ascertainable, all in an amount subject to proof at the time of trial.
16          196. As a proximate result of the wrongful acts of Defendants, Mr. Dunbar has
17   been forced to hire attorneys to prosecute his claims herein, and has incurred and is
18   expected to continue to incur attorneys’ fees and costs in connection therewith. Mr.
19   Dunbar is entitled to recover attorneys’ fees and costs under California Government Code
20   § 12965(b).
21          197. Mr. Dunbar is entitled to other such relief as this court deems appropriate.
22          WHEREFORE, Mr. Dunbar respectfully prays for relief against Defendants as
23   hereinafter set forth in his prayer for relief.
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 1                               EIGHTH CAUSE OF ACTION
 2                Violation of the California Fair Employment Housing Act
 3                               Cal. Gov. Code § 12900, et seq.
 4                                          Retaliation
 5         198. Mr. Dunbar hereby realleges and adopts each and every allegation in
 6   paragraphs 1-110 above as if fully set forth herein.
 7         199. At all times herein mentioned, California Government Code § 12900 et seq.,
 8   FEHA, was in full force and effect and was binding on Defendants, as Defendants
 9   regularly employed five (5) or more persons.
10         200. Code § 12940(h) makes it unlawful for any person to retaliate against an
11   employee who has opposed a discriminatory practice.
12         201. Defendants took adverse employment action against Mr. Dunbar because he
13   engaged in the protected activity of complaining about the religious and race
14   discrimination he suffered, including wrongfully terminating his employment contract,
15   depriving him of financial compensation pursuant to the contract, and intentionally
16   harming Mr. Dunbar’s reputation in the industry, thereby intentionally interfering with
17   Mr. Dunbar’s prospective economic advantage.
18         202. Defendants’ actions constitute unlawful retaliation in violation of Code §
19   12940(h).
20         203. As a result of Defendants’ actions, Mr. Dunbar has suffered, and will
21   continue to suffer, both economic and non-economic loss, including, but not limited to:
22   loss of wages, benefits, pension, bonus entitlements, residual payments, deferred
23   compensation, future pecuniary losses, emotional distress, and other compensatory
24   damages.
25         204. As outlined above, Defendants purposefully and intentionally retaliated
26   against Mr. Dunbar based upon his opposition to Defendants’ vaccine mandate and denial
27   of his religious exemption request by taking adverse employment action against him. Mr.
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                                             COMPLAINT
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 1   Dunbar is entitled to recover damages for future pecuniary losses, emotional pain,
 2   suffering, inconvenience, mental anguish, loss of enjoyment of life, and all other non-
 3   pecuniary losses caused by Defendants’ unlawful retaliation.
 4          205. Defendants’ actions described above were done with malice or a reckless
 5   indifference to Mr. Dunbar’s protected right to be free from retaliation for opposing
 6   unlawful employment practices. Due to the willful and malicious nature of the retaliation
 7   against Mr. Dunbar, he is entitled to an award of punitive damages in an amount sufficient
 8   to deter Defendants from engaging in retaliatory conduct in the future.
 9          206. As a proximate result of the wrongful acts of Defendants, Mr. Dunbar has
10   suffered and continues to suffer emotional distress, humiliation, mental anguish and
11   embarrassment, as well as the manifestation of physical symptoms as a result of the stress.
12   Mr. Dunbar is informed and believes and thereupon alleges that he will continue to
13   experience said physical and emotional suffering for a period in the future not presently
14   ascertainable, all in an amount subject to proof at the time of trial.
15          207. As a proximate result of the wrongful acts of Defendants, Mr. Dunbar has
16   been forced to hire attorneys to prosecute his claims herein, and has incurred and is
17   expected to continue to incur attorneys’ fees and costs in connection therewith. Mr.
18   Dunbar is entitled to recover attorneys' fees and costs under California Government Code
19   § 12965(b).
20          208. Mr. Dunbar is entitled to other such relief as this court deems appropriate.
21          WHEREFORE, Mr. Dunbar respectfully pray for relief against Defendants as
22   hereinafter set forth in his prayer for relief.
23                                 NINTH CAUSE OF ACTION
24                                   Breach of Written Contract
25          209. Mr. Dunbar hereby realleges and adopts each and every allegation in
26   paragraphs 1-110 above as if fully set forth herein.
27          210. Section II of Mr. Dunbar’s Actor Agreement, dated September 20, 2017
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                                               COMPLAINT
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 1   with Defendants provides in relevant part that:
 2                 Player shall be paid the Episodic Compensation set forth herein below.
 3                 In ... each subsequent Contract Year, Player is guaranteed, pay or play, the
 4                 following Ratio of original episodes produced but no less than the
 5                 Minimum Number.
 6
 7                 ***
 8
 9                 the Episodic Compensation for the Third & subsequent Contract Years
10                 shall be as set forth.
11
12                 ***
13
14                 Except as otherwise specifically set forth herein, licensee cancellations …
15                 shall not relieve Fox of the obligation to pay episodic compensation for the
16                 Minimum Number of episodes indicated for any Contract Year for which
17                 Fox exercises its option.
18
19           211. The 2017 Memorandum of Agreement dated September 29, 2017 provides
20   that:
21                 Advance payment for residuals: Other. For all other residual
22                 purposes… the salary at which advance payment is permitted
23                 shall be $9,000 per week or per episode.
24
25           212. The compensation letter dated July 29, 2021 provides that:
26                 In the event that Twentieth… to produce a sixth season of the
27                 Series and provided that neither Lender nor Player is in material
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 1                    breach or default of the terms or conditions of the Agreement,
 2                    Lender shall be entitled to a one-time bonus calculated to
 3                    “gross up” Player’s Fifth Season Fee to an amount equal to
 4                    $100,000 for each episode for which Player was entitled to be
 5                    paid.
 6
 7                    ***
 8
 9                    The S.6 Pick Up Bonus shall be paid promptly upon
10                    Twentieth's acceptance of the order but no later than
11                    commencement of production of a sixth season of the Series.
12
13          213. As alleged herein, Mr. Dunbar requested a religious exemption from
14   Defendants’ COVID-19 vaccine mandate so that he could continue to perform pursuant
15   to the terms of his employment contract and intended to and was capable of finishing his
16   commitment for season 5 and then continue on to season 6 of “9-1-1.”
17          214. Defendants refused to engage in the interactive process with Mr. Dunbar and
18   denied his request for a religious exemption, thereby preventing Mr. Dunbar from
19   continuing to perform pursuant to the terms of the employment contract.
20          215. Defendants’ action to deny Mr. Dunbar a religious exemption and his
21   subsequent termination constitutes a breach of the employment agreements on the part of
22   Defendants.
23          216. This breach of contract has caused, and is continuing to cause, Mr. Dunbar
24   to incur damage, loss, and harm, in an amount to be determined according to proof at the
25   time of trial.
26          217. Defendants’ wrongful conduct for the breach of obligation arising from
27   contract, entitles Mr. Dunbar to an award of damages pursuant to California Civil Code
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                                               COMPLAINT
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 1   § 3300.
 2          218. Mr. Dunbar is entitled to other such relief as this court deems appropriate.
 3          WHEREFORE, Mr. Dunbar respectfully prays for relief against Defendants as
 4   hereinafter set forth in his prayer for relief.
 5                                 TENTH CAUSE OF ACTION
 6                Breach of Implied Covenant of Good Faith and Fair Dealing
 7          219. Mr. Dunbar hereby realleges and adopts each and every allegation in
 8   paragraphs 1-110 above as if fully set forth herein.
 9          220. By agreeing to refuse to even consider Mr. Dunbar’s requests for religious
10   exemption and accommodation, Defendants have reached an express or tacit agreement
11   to deprive Mr. Dunbar of his constitutionally protected rights to equal protection and
12   religious exercise.
13          221. Defendants’ have engaged in an overt act in furtherance of the conspiracy to
14   deprive Mr. Dunbar of his civil rights by failing to engage in the interactive process and
15   terminating Mr. Dunbar’s employment.
16          222. Defendants’ conduct alleged herein constituted a breach of the implied
17   covenant of good faith and fair dealing as applied to Mr. Dunbar, as it frustrated Mr.
18   Dunbar’s ability to obtain the benefits expressly granted by his employment contract with
19   Defendant Fox.
20          223. The foregoing breach of the covenant of good faith and fair dealing has
21   caused, and is continuing to cause, Mr. Dunbar to incur damage, loss, and harm, in an
22   amount to be determined according to proof at the time of trial.
23          224. But for Defendants’ breach of the implied covenant of good faith and fair
24   dealing which frustrated Mr. Dunbar’s ability to perform the terms of his employment
25   contract, Mr. Dunbar would continue to adhere to the terms of his employment contract
26   with Defendants.
27          225. Defendants’ wrongful conduct for the breach of obligation arising from
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 1   contract, entitles Mr. Dunbar to an award of damages pursuant to California Civil Code
 2   § 3300.
 3          226. Mr. Dunbar is entitled to other such relief as this court deems appropriate.
 4          WHEREFORE, Mr. Dunbar respectfully prays for relief against Defendants as
 5   hereinafter set forth in his prayer for relief.
 6                              ELEVENTH CAUSE OF ACTION
 7              Intentional Interference with Prospective Economic Advantage
 8          227. Mr. Dunbar hereby realleges and adopts each and every allegation in
 9   paragraphs 1-110 above as if fully set forth herein.
10          228. Mr. Dunbar and his wife obtained union approval and funding for the Project
11   and Defendants knew the Project was in progress. Despite positive feedback from agents,
12   A and B list talent passed on the Project due to negative publicity regarding Mr. Dunbar
13   and funding was retracted.
14          229. As a direct and proximate cause of Defendants’ wrongful conduct alleged
15   above, which was a substantial factor in the interference of Mr. Dunbar’s ability to enjoy
16   the benefits of his contract for the Project, Mr. Dunbar has suffered financial damages in
17   an amount subject to proof, but in any case, exceeding $1,000,000, the exact damage
18   amount to be determined according to proof at the time of trial.
19          230. Defendants’ wrongful conduct was intended to cause injury to Mr. Dunbar
20   and was carried out with malice, oppression, and/or fraud, with willful or callous
21   disregard for the rights of Mr. Dunbar, thereby entitling Mr. Dunbar to an award of
22   punitive damages pursuant to California Civil Code § 3294.
23          WHEREFORE, Mr. Dunbar respectfully prays for relief against Defendants as
24   hereinafter set forth in his prayer for relief.
25                               TWELFTH CAUSE OF ACTION
26                Negligent Interference with Potential Economic Advantage
27          231. Mr. Dunbar hereby realleges and adopts each and every allegation in
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                                               COMPLAINT
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 1   paragraphs 1-110, and paragraphs 228-229, above as if fully set forth herein.
 2          232. Defendants’ wrongful conduct was intended to cause injury to Mr. Dunbar
 3   and was carried out with malice, oppression, and/or fraud, with willful or callous
 4   disregard for the rights of Mr. Dunbar, thereby entitling Mr. Dunbar to an award of
 5   punitive damages pursuant to California Civil Code § 3294.
 6          WHEREFORE, Mr. Dunbar respectfully prays for relief against Defendants as
 7   hereinafter set forth in his prayer for relief.
 8                          PRAYER FOR RELIEF AND JURY DEMAND
 9          WHEREFORE, Mr. Dunbar respectfully requests that this Court enter judgment in
10   favor of Mr. Dunbar and against Defendants and:
11             a. Order Defendants to make Mr. Dunbar whole by providing appropriate
12                 backpay with prejudgment interest, in amounts to be determined at trial, and
13                 front pay, in amounts to be determined at trial, and other affirmative relief
14                 necessary to eradicate the effects of Defendants’ unlawful employment
15                 practices.
16             b. Order Defendants to make Mr. Dunbar whole by providing compensation
17                 for past and future pecuniary losses resulting from the unlawful employment
18                 practices described above, including but not limited to, expenses of entering
19                 into a replacement contract for the Project in an amount to be determined at
20                 trial.
21             c. Order Defendants to make Mr. Dunbar whole by providing compensation
22                 for past and future pecuniary losses resulting from the unlawful employment
23                 practices described above, including but not limited to, emotional pain,
24                 suffering, inconvenience, loss of enjoyment of life, humiliation and loss of
25                 civil rights, in an amount to be determined at trial.
26             d. Order Defendants to pay Mr. Dunbar punitive damages for the malicious
27                 and reckless conduct described above, in an amount to be determined at trial.
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                                               COMPLAINT
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 1           e. Order Defendants to designate Mr. Dunbar as eligible for rehire by
 2              Defendants.
 3           f. Grant a permanent injunction enjoining Defendants, their officers, agents,
 4              servants, employees, successors, and assigns, and all persons in active
 5              concert or participation with them, from discriminating against applicants
 6              and current or future employees based on their religious beliefs and/or their
 7              refusal to violate their religious beliefs, including but not limited to in their
 8              current and future employee vaccination policies.
 9           g. Grant a permanent injunction enjoining Defendants, their officers, agents,
10              servants, employees, successors and assigns and all persons in active concert
11              or participation with them, from discriminating against applicants and
12              current or future employees based on race, national origin and/or color,
13              including but not limited to in their current and future employee vaccination
14              policies and adverse employment actions.
15           h. Grant a permanent injunction enjoining Defendants, their officers, agents,
16              servants, employees, successors and assigns and all persons in active concert
17              or participation with them from retaliating against applicants and current or
18              future employees based on their opposition to any conduct made unlawful
19              by Title VII and/or Code § 12940(h), including but not limited to,
20              intentionally and/or recklessly leaking confidential information of
21              applicants and current or future employees to the press, and as part of their
22              current and future employee vaccination policies.
23           i. Order Defendants to institute and carry out policies, practices, and programs
24              which provide equal employment opportunities for all employees, including
25              but not limited to effective policies prohibiting religious discrimination and
26              allowing for appropriate religious accommodation as part of their current
27              and future employee vaccination policies, all of which eradicate the effects
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 1               of Defendants’ past and present unlawful employment practices.
 2            j. Order Defendants to institute and carry out policies, practices, and programs
 3               which provide equal employment opportunities for all employees, including
 4               but not limited to effective policies prohibiting race discrimination and
 5               allowing for appropriate accommodation as part of their current and future
 6               employee vaccination policies, all of which eradicate the effects of
 7               Defendants’ past and present unlawful employment practices.
 8            k. Order Defendants to institute and carry out policies, practices, and programs
 9               which provide equal employment opportunities for all employees, including
10               effective policies prohibiting retaliation, including but not limited to as part
11               of their current and future employee vaccination policies, all of which
12               eradicate the effects of Defendants’ past and present unlawful practices.
13            l. Grant such further relief as the Court deems necessary and proper in the
14               public interest.
15            m. Award attorneys’ fees and costs of this action.
16            n. Any such other relief as the court may deem appropriate.
17         Plaintiff hereby demands trial by jury as to all triable claims.
18
     Dated: February 16, 2022
19
                                      SIRI & GLIMSTAD LLP
20
21                                    By: /s/ Caroline Tucker
22                                         Aaron Siri (Pro Hac Vice to be filed)
                                           Elizabeth Brehm (Pro Hac Vice to be filed)
23                                         Caroline Tucker
24
                                            Attorneys for Plaintiff
25                                          ROCKMOND DUNBAR
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